Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 1 of 14 PAGEID #: 76

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

State of Ohio, ex rel. Attorney General Dave Yost

Plaintiff(s)

V. Civil Action No. 2:22-CV-2700

Aaron Michael Jones, et al

/ Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Aaron Michael Jones
66 Hawking
Irvine, CA 92618

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Erin B. Leahy

Christopher Belmarez

Ohio Attorney General's Office
30 East Broad Street, 14th Floor
Columbus, Ohio 43215

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

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Date: —(08/15/2022 q

Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 2 of 14 PAGEID #: 77

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:22-CV-2700

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) }-or

[1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

, and mailed a copy to the individual’s last known address; or

on (date)

O I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
I returned the summons unexecuted because > or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 3 of 14 PAGEID #: 78

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

State of Ohio, ex rel. Attorney General Dave Yost

Plaintiff(s)

V. Civil Action No. 2:22-CV-2700

Aaron Michael Jones, et al

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Stacey E. Yim
66 Hawking
Irvine, CA 92618-1779

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Erin B. Leahy

Christopher Belmarez

Ohio Attorney General's Office
30 East Broad Street, 14th Floor
Columbus, Ohio 43215

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

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Date: “08/15/2022, y

Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 4 of 14 PAGEID #: 79

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:22-CV-2700

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any)

was received by me on (date)

C1 I personally served the summons on the individual at (place)

on (date) ; or

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

, and mailed a copy to the individual’s last known address; or

on (date)

O I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 3 or
C1 I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 5 of 14 PAGEID #: 80

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

State of Ohio, ex rel. Attorney General Dave Yost

Plaintiff(s)

V. Civil Action No. 2:22-CV-2700

Aaron Michael Jones, et al

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Posting Express, Inc.
c/o Stacey E. Yim (President)
66 Hawking
Irvine, CA 92618-1779

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Erin B. Leahy

Christopher Belmarez

Ohio Attorney General's Office
30 East Broad Street, 14th Floor
Columbus, Ohio 43215

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

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Date: 08/15/2022 y

Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 6 of 14 PAGEID #: 81

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:22-CV-2700

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any)

was received by me on (date)

C1 I personally served the summons on the individual at (place)

on (date) ; or

OI left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

© I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 7 of 14 PAGEID #: 82

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

State of Ohio, ex rel. Attorney General Dave Yost

Plaintiff(s)

v. Civil Action No. 2:22-CV-2700

Aaron Michael Jones, et al

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Sumco Panama USA
c/o Cloud Peak Law Group, statutory agent
1095 Sugar View Dr., Ste 100
Sheridan, WY 82801

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Erin B. Leahy

Christopher Belmarez

Ohio Attorney General's Office
30 East Broad Street, 14th Floor
Columbus, Ohio 43215

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

a
Date: —(08/15/2022 Vole ca

Signature of Clerk or Deput}

Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 8 of 14 PAGEID #: 83

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:22-CV-2700

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any)

was received by me on (date)

C1 I personally served the summons on the individual at (place)

on (date) 5 or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

CO I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or
C1 I returned the summons unexecuted because 3 or
OC Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server’s signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

a cc a
Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 9 of 14 PAGEID #: 84

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

State of Ohio, ex rel. Attorney General Dave Yost

Plaintiff(s)

v. Civil Action No. 2:22-CV-2700

Aaron Michael Jones, et al

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Geist Telecom LLC
c/o Cloud Peak Law Group, statutory agent
1095 Sugar View Dr., Ste 100
Sheridan, WY 82801

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Erin B. Leahy

Christopher Belmarez

Ohio Attorney General's Office
30 East Broad Street, 14th Floor
Columbus, Ohio 43215

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

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Date: 08/15/2022 y

Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 10 of 14 PAGEID #: 85

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:22-CV-2700

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

C1 I personally served the summons on the individual at (place)

on (date) > or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or
CO I returned the summons unexecuted because . ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 11 of 14 PAGEID #: 86

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

State of Ohio, ex rel. Attorney General Dave Yost

Plaintiff(s)

Vv. Civil Action No. 2:22-CV-2700

Aaron Michael Jones, et al

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Fugle Telecom LLC
c/o Cloud Peak Law, LLC, statutory agent
1095 Sugar View Dr., Ste 500
Sheridan, WY 62801

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Erin B. Leahy

Christopher Belmarez

Ohio Attorney General's Office
30 East Broad Street, 14th Floor
Columbus, Ohio 43215

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

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Date: 08/15/2022 q

Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 12 of 14 PAGEID #: 87

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:22-CV-2700

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any)

was received by me on (date)

[1 I personally served the summons on the individual at (place)

on (date) ; or

CO I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 3 or
IT returned the summons unexecuted because 3 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 13 of 14 PAGEID #: 88

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

State of Ohio, ex rel. Attorney General Dave Yost

Plaintiff(s)

Vv. Civil Action No. 2:22-CV-2700

Aaron Michael Jones, et al

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Connective MGMT Inc.
c/o United States Corporation Agents, Inc., statutory agent
500 N. Rainbow Blvd., Ste. 300A
Las Vegas, NV 89107

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Erin B. Leahy

Christopher Belmarez

Ohio Attorney General's Office
30 East Broad Street, 14th Floor
Columbus, Ohio 43215

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

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Date: 08/15/2022 Vole Za

Case: 2:22-cv-02700-ALM-KAJ Doc #: 8 Filed: 08/16/22 Page: 14 of 14 PAGEID #: 89

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:22-CV-2700

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any)

was received by me on (date)

71 I personally served the summons on the individual at (place)

on (date) ; or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or
I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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